            Case 5:24-cr-00213-R      Document 11     Filed 06/03/24    Page 1 of 3




          UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF OKLAHOMA
                     200 NW 4TH STREET, OKLAHOMA CITY, OK 73102
                                    COURTROOM 302

                CRIMINAL JURY DOCKET BEFORE JUDGE DAVID L. RUSSELL

                             TUESDAY, JULY 9TH, 2024 AT 9:00 A.M.

         PHOTO ID IS REQUIRED FOR ANYONE ENTERING THE FEDERAL COURTHOUSE.

Notice to all counsel: any motions to continue and/or plea changes must be filed and/or presented to
the Court no later than Monday, June 24th, 2024.

CR-22-5-R-5         United States of America                        Jason M. Harley
                                                                    Nicholas M. Coffey
                                                                    Jessica L. Cardenas
                    -v-

                    Jose Ramon Dominguez                            Edward M. Blau
                                                                    Daniel Page
                                                                    Irven R. Box

CR-23-51-R          United States of America                        Wilson D. McGarry

                    -v-

                    Akin Zhon Wofford                               Traci Lynn Rhone


CR-23-375-R         United States of America                        D.H. Dilbeck

                    -v-

                    Elijah Johnson                                  Sanjuanita A. Martinez


CR-23-497-R         United States of America                        Thomas B. Snyder

                    -v-

                    Demaury Mosea Haywood                           Robert S. Jackson
         Case 5:24-cr-00213-R      Document 11   Filed 06/03/24   Page 2 of 3




CR-23-507-R     United States of America                      Travis Leverett

                -v-

                Emmanuel Calderon                             Troy R. Cowin


CR-24-90-R      United States of America                      Drew E. Davis

                -v-

                Thao Duc Ha                                   Benjamin L. Munda, IV


CR-24-101-R     United States of America                      Travis Leverett

                -v-

                Gerald Starr (3)                              Christoper S. Reser
                Robert Weaver (4)                             Michael Wayne Noland


CR-24-146-R     United States of America                      Nicholas M. Coffey
                                                              Elizabeth Mauve Bagwell
                -v-

                Chong Iu Phu (1)                              Chelsy L. Van Overmeiren
                                                              Daniel Page
                                                              Edward M. Blau
                                                              Todd S. Pugh
                Matthew Alan Stacy (2)                        Henry A. Meyer, III
                                                              Joseph L. DeGiusti
                                                              Joshua Todd Welch
                                                              Robert M. Goldstein
                Chanh Iu Phu (3)                              Robert D. Gifford, II


CR-24-152-R     United States of America                      Daniel Gridley

                -v-

                Brandon Reid Heath                            Kyle E. Wackenheim
         Case 5:24-cr-00213-R    Document 11     Filed 06/03/24   Page 3 of 3




CR-24-210-R     United States of America                      Elizabeth Joynes

                -v-

                Jose Enrique Guerrero-Corrales                James W. Todd


CR-24-213-R     United States of America                      Brandon T. Hale

                -v-

                Mitchell Green                                Albert J. Hoch, Jr.
